             Case 1:15-cv-01300-RCL Document 1 Filed 08/12/15 Page 1 of 3



                      UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA
______________________________________________________________________________

JAH JAH BEY,                                                         CASE NO.
           Plaintiff,
                                                                     Judge
       vs.

TRANS UNION LLC,
            Defendant.
______________________________________________________________________________

                 TRANS UNION, LLC’S NOTICE OF REMOVAL
______________________________________________________________________________

       Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant Trans Union, LLC (“Trans

Union”) hereby removes the subject action from the Superior Court of the District of Columbia

to the United States District Court for District of Columbia, on the following grounds:

       1.       Plaintiff Jah Jah Bey served Trans Union on or about July 24, 2015, with a

Summons, Complaint, Verification and Initial Order And Addendum filed in the Superior Court

of the District of Columbia. Copies of the Summons, Complaint, Verification and Initial Order

And Addendum are attached hereto as Exhibit A, Exhibit B, Exhibit C and Exhibit D. No

other process, pleadings or orders have been served on Trans Union.

       2.       Plaintiff makes claims under, alleges that Trans Union violated and alleges that

Trans Union is liable under the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq. (the

“FCRA”). See Complaint ¶¶ 1-5, 36-45.

       3.       This Court has original jurisdiction over the subject action pursuant to 28 U.S.C. §

1331 since there is a federal question. As alleged, this suit falls within the FCRA which thus

supplies this federal question.
            Case 1:15-cv-01300-RCL Document 1 Filed 08/12/15 Page 2 of 3



       4.      Pursuant to 28 U.S.C. § 1441, et seq., this cause may be removed from the

Superior Court of the District of Columbia to the United States District Court for the District of

Columbia.

       5.      Notice of this removal will promptly be filed with the Superior Court of the

District of Columbia and served upon all adverse parties.

       WHEREFORE, Defendant Trans Union, LLC, by counsel, removes the subject action

from the Superior Court of the District of Columbia to this United States District Court, District

of Columbia.

                                                      Respectfully submitted,



                                                      /s/ H. Mark Stichel
                                                      H. Mark Stichel, Esq. (DC Bar #503038)
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                                                      Counsel for Defendant Trans Union, LLC




                                            Page 2 of 3
           Case 1:15-cv-01300-RCL Document 1 Filed 08/12/15 Page 3 of 3



                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing has been filed electronically

on the 12th day of August, 2015. Notice of this filing will be sent to the following parties by

operation of the Court’s electronic filing system. Parties may access this filing through the

Court’s electronic filing.



       The undersigned further certifies that a true copy of the foregoing was served on the

following parties via First Class, U.S. Mail, postage prepaid, on the 12th day of August, 2015,

properly addressed as follows:

Pro Se Plaintiff
Jah Jah Bey
1462 Belmont Street NW
Washington, DC 20009



                                                      /s/ H. Mark Stichel
                                                      H. Mark Stichel, Esq. (MD Bar #503038)
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                                                      Counsel for Defendant Trans Union, LLC




                                            Page 3 of 3
